Case 8-20-08052-ast   Doc 40-9   Filed 02/22/22   Entered 02/22/22 19:17:18




                 EXHIBIT I
     Case 8-20-08052-ast         Doc 40-9     Filed 02/22/22     Entered 02/22/22 19:17:18




           DEPARTMENT OF THE TREASURY
   i/#//.u\o internal revenue service
           CINCINNATI    OH     45999-0023
                                                                     Date of this notice:    12-05-2016

                                                                     Employer Identification Number:
                                                                     XX-XXXXXXX

                                                                     Form:   SS-4

                                                                     Number of this notice:    CP 515 G
                  LEXINGTON LANDMARK SERVICES LLC
                  JOHN PETROZZA SOLE MBR
                  3500 HIGHWAY 35 SOUTH SUITE 9A                     For assistance you may call us at:
                  HAZLET, NJ 07730                                   1-800-829-4933



                                                                     IF YOU WRITE, ATTACH THE
                                                                     STUB AT THE END OF THIS NOTICE.




                           WE ASSIGNED YOU AN EMPLOYER IDENTIFICATION NUMBER

              Thank you Cor applying for an Employer Identification Number (EIN). We assigned you
         BIN XX-XXXXXXX,      This EIN v/ill identify you, your business accounts, ta>{ returns, and
         documents, even if you have no employees.       Please keep this notice in your permanent
         records.

              When filing tax documents, payments, and related correspondence, it is very important
         that you use your EIN and complete name and address exactly as shown above. Any variation
         may cause a delay in processing, result in incorrect information in your account, or even
         cause you to be assigned more than one EIN. If the information is not correct as shown
         above, please make the correction using the attached tear off stub and return it to us.
              A limited liability company (LLC) may file Form 8832, Entity Classification Election,
         and elect to be classified as an association taxable as a corporation. If the LLC is
         eligible to be treated as a corporation that meets .certain tests and it will be electing S
         corporation status, it must timely file Form 2553, Election by a Small Business
         Corporation. The LLC will be treated as a corporation as of the effective date of the S
         corporation election and does not need to file Form 0832.
              To obtain tax forms and publications, including those referenced in this notice/
         visit our Web site at www.irs.gov. If you do not have access to the Internet, call
         1-800-829-3676 (TTY/TDD 1-800-829-4059) or visit your local IRS office.
         IMPORTANT REMINDERS:

              * Keep a copy of this notice in your permanent records. This notice is issued only
                  one time and the IRS will not be able to generate a duplicate copy for you. You
                  may give a copy of this document to anyone asking for proof of your EIN.
              *   Use this EIN and your name exactly as they appear at the top of this notice on all
                  your federal tax forms.
              *   Refer to this EIN on your tax-related correspondence and documents.
              jf you have questions about your EIN, you can call us at the phone number or write to
        us at the address shown at the top of this notice. If you write, please tear off the stub
        at the bottom of this notice and send it along with your letter.          If you do not need to
        write us, do not complete and return the stub.
              Your name control associated with this EIN i.3 LBXI.      You will need to provide this
        information, along with your BIN, if you file your returns electronically.
             Thank you for your cooperation.




 Exhibit                                                                     EHREN-ABRUZZI 000010

PET 0009
Case 8-20-08052-ast   Doc 40-9   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-9   Filed 02/22/22   Entered 02/22/22 19:17:18
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